         Case 1:22-cr-00116-CJN Document 25 Filed 08/18/22 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       Case No.: 22-cr-116 (CJN)
               v.                            :
                                             :
DAVID JOSEPH GIETZEN,                        :
                                             :
Defendant.                                   :

                     UNOPPOSED MOTION TO CONTINUE STATUS
                      HEARING AND TO EXCLUDE TIME UNDER
                               SPEEDY TRIAL ACT

        The United States of America, by and through the United States Attorney, respectfully

 moves this Court to continue the status hearing currently scheduled for August 22, 2022 for

 approximately 60 days until on or about October 24, 2022, and to exclude time under the

 Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) from August 22, 2022 until the date of

 the next status hearing in this case. In support whereof, the government states as follows:

        1.      The defendant was charged by criminal complaint on March 25, 2021, with the

 following offenses: Assaulting, Resisting, or Impeding Certain Officers with Deadly or

 Dangerous Weapon, in violation of 18 U.S.C. § 111(a)(1) & (b); Civil Disorder , in violation

 of 18 U.S.C. § 231(a)(3); Entering and Remaining in a Restricted Building or Grounds, in

 violation of 18 U.S.C. § 1752(a)(1); Disorderly and Disruptive Conduct in a Restricted

 Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2); Engaging in Physical Violence in

 a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(4). Agents did not

 locate the defendant at that time, so he was never arrested pursuant to the complaint.

        2.      The defendant was then indicted on April 1, 2021 with the following offenses:

 Civil Disorder and Aiding and Abetting, in violation of 18 U.S.C. § 231(a)(3) and 2; Assaulting,
         Case 1:22-cr-00116-CJN Document 25 Filed 08/18/22 Page 2 of 4




Resisting, or Impeding Certain Officers, in violation of 18 U.S.C. § 111(a)(1); Assaulting,

Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in violation of 18 U.S.C.

§ 111(a)(1) and (b); Disorderly Conduct and Entering and Remaining in a Restricted Building

or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(1) and

(b)(1)(A); Engaging in Physical Violence in a Restricted Building or Grounds, in violation of

18 U.S.C. § 1752(a)(4) and (b)(1)(A); and Acts of Physical Violence in the Capitol Grounds or

Buildings, in violation of 40 U.S.C. § 5104(e)(2)(F). The defendant was arrested in Sanford,

North Carolina on May 11, 2022, and he made his initial appearance in this district on May 17,

2021.

        3.      The government has produced a substantial volume of defendant-specific

discovery, including significant amounts of video footage, which counsel is still reviewing.

Certain discovery items, including evidence seized from the defendants’ phone at the time of his

arrest, are still outstanding.

        4.      The government respectfully request a continuance of approximately 60 days,

until on or about October 24, 2022, pursuant to 18 U.S.C. § 3161(h)(7)(A), to exclude time

under the Speedy Trial Act in the interests of justice from August 22, 2022 until the date of the

next status hearing in this case, to be determined by the Court. This additional period is

necessary to allow the defendant to fully review the discovery in the case, and to allow the

parties to engage in discussions regarding possible resolutions of the case. Therefore, the

parties respectfully submit that the ends of justice served by such exclusion would outweigh the

best interest of the public and the defendant in a speedy trial.
        Case 1:22-cr-00116-CJN Document 25 Filed 08/18/22 Page 3 of 4




       5.     Counsel for the government has conferred with defense counsel regarding this

motion. The defendant does not oppose the motion to continue the status hearing or to exclude

time under the Speedy Trial Act.

       WHEREFORE, the parties respectfully move that the status hearing in this case

currently scheduled for August 22, 2022 be continued for approximately 60 days until on or

about October 24, 2022, and that the time from August 22, 2022 until the date of the next

status hearing in this case be excluded from computation under the Speedy Trial Act.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052


                                     By:    /s/ Elizabeth N. Eriksen
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          Case 1:22-cr-00116-CJN Document 25 Filed 08/18/22 Page 4 of 4


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 18h day of August, 2022, I filed electronically the
foregoing with the Clerk of the Court using the CM/ECF system, which will send a notification of
such filing (NEF) to the following counsel of record:

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